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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                                      §
U.S. COMMODITY FUTURES TRADING                        §
COMMISSION, et al.                                    §
                                                      §
                      Plaintiffs,                     §
                                                      §            CIVIL ACTION NO.
v.                                                    §              3:20-CV-2910-L
                                                      §
TMTE, INC. a/k/a METALS.COM, CHASE                    §
METALS, INC., CHASE METALS, LLC,                      §
BARRICK CAPITAL, INC., LUCAS THOMAS                   §
ERB a/k/a LUCAS ASHER a/k/a LUKE ASHER,               §
and SIMON BATASHVILI,                                 §
                                                      §
                      Defendants,                     §
                                                      §
TOWER EQUITY, LLC,                                    §
                                                      §
                      Relief Defendant.               §
                                                      §



    RECEIVER'S REPLY TO DEFENDANTS' OPPOSITION TO RECEIVER'S
MOTION FOR "SHOW CAUSE" HEARING TO HOLD DEFENDANTS LUCAS ASHER
             AND SIMON BATASHVILI IN CIVIL CONTEMPT

        Kelly M. Crawford ("Receiver") respectfully submits this reply to the Defendants'

Opposition to Receiver's Motion for Show Cause Hearing to Hold Defendants in Civil Contempt

(the "Opposition").

                                     I.     INTRODUCTION

        The Receiver's Emergency Motion for Show Cause Hearing (the "Motion") [Dkt. 311]

seeks to hold the individual Defendants Lucas Asher and Simon Batashvili ("Defendants") in

contempt for violating this Court's Orders (as defined in the Motion) by, amongst other things,

engaging -- through Portfolio Insider ("PI") - in "activity related to securities, commodities, or




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derivatives .... " See Consent Order,       ~38.    In the Opposition, Defendants contend they did not

violate the Court's Orders because PI is a software company not engaged in any activity related

to securities; they don't own PI; and the Motion seeks criminal, rather than civil contempt. The

Opposition mischaracterizes the Comi's Orders, the evidence submitted by the Receiver and/or

the Plaintiffs in support of the Motion, and even the relief sought by the Receiver. And, in

making these arguments, the Defendants do not submit an ounce of controve1iing evidence.

Instead, they leave it to their attorney to make "factual allegations" such as:

        •         "P01ifolio Insider does not engage in trading of any securities or commodities and
                  does not provide investment advice." Opposition ("Opp.''). p. 2.
        •         "The defendants did not engage in trading or the solicitation of funds relating to the
                  purchase or sale of securities, commodities, or derivatives." Id.
        •         "The company is not in the business of providing investment advice." Opp. p. 8.
       •          "The company does not engage in the trading of securities or commodities." Id.


       The absence of any declaration from either of the Defendants is a glaring omission. The

unadorned conclusions by Defendants' counsel in the Opposition cannot credibly contradict the

hundreds of pages of evidence and declarations filed in support of the Motion, and should be

wholly disregarded.

            II.       DEFENDANTS CLEARLY ENGAGED IN ACTIVITY RELATED TO
                         SECURITIES IN VIOLATION OF THE COURT'S ORDER

       The Consent Order [Dkt. 165] entered by the Court and agreed to by Defendants

expressly provides that "Defendants Asher and Batashvili agree that they will not engage in

any activity related to securities .... "     ~38   (emphasis added). Notwithstanding this Order, no

less than six days a week, Defendants continuously engaged in activity related to securities

through PI. See infi'a pp. 7-8. As an example, Defendant Asher continually negotiated on behalf

of PI with NASDAQ for purposes of obtaining information regarding securities sales to sell to




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investors. Id. Meanwhile, Defendant Batashvili wrote the scripts used by callers, and supervised

the callers who solicited monies from customers to purchase information regarding securities to

assist them in buying and selling securities. Id. Such activities are, on their face, engaging in an

"activity related to securities." Any suggestion to the contrary is baseless.

        The Defendants' Opposition opted to ignore this evidence while seeking to characterize

PI as simply a computer software company. This false claim is contradicted by the fact that PI is

marketed to assist investors purchase and sell securities, with a tag line that PI has "the power of

an investment bank in your pocket" with a mission "to democratize access to the world's most

valuable financial data." 1 It is a business devoted to securities.

        Finally, the Defendants contend they did not violate the Court Orders because there is no

evidence they provided "investment advice."          This argument ignores the plain words of the

Consent Order, which by no means is limited only to providing investment advice, but

encompasses "any activity related to securities." Defendants blatantly violated the Consent

Order2, and indeed it is this violation that prompted the Receiver's investigation of the activities

of the Defendants and their involvement in PI.

                   III.    MISCHARACTERIZING THE COURT'S ORDERS


        The Statutory Restraining Order ("SRO") [Dkt. 16] defines the "Receivership Estate"

much broader than Defendants would have this Co mi believe, and the evidence in support of the

Motion clearly and compellingly demonstrates that PI falls within the scope of the "Receivership

Estate" as defined by the SRO.     The evidence establishes that Defendants Asher and Batashvili




1
  App. at pp. 321-323.
2
  This violation of the Consent Order by the Defendants exists regardless of whether the Court
finds that PI is pati of the Receivership Estate.



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began PI well before the receivership was in place and, with the help of their friend Carlos Cruz,

seamlessly continued the business after the receivership in violation of the Court's Orders.

          As part of his Motion, the Receiver requests the Co mi to expressly name PI as part of the

Receivership Estate pursuant to the SRO. See Motion, p. 24,       ~1.   The SRO specifically identifies

the assets that fall within the definition of the "Receivership Estate". The Defendants argue the

Receivership Estate is limited to only "assets owned, beneficially or otherwise, by the

Receivership Defendants".           Defendants ignore altogether the definition of "Receivership

Defendants", which is defined as the "Defendants and Relief Defendant and their affiliates or

subsidiaries owned or controlled by Defendants or Relief Defendants". SRO               ~30   (emphasis

added).     In addition,     Defendants wholly disregard that the "Receivership Estate" includes

"assets directly or indirectly owned, beneficially, or otherwise, by the Receivership

Defendants." Id. Moreover, "assets" as used in defining the Receivership Estate means "any

legal or equitable interest in, right to, or claim to, any real or personal property, whether

individually or jointly, directly or indirectly controlled, and wherever located, including but not

limited to ... " SRO   ~15   (emphasis added). Thus, the relevant inqui1y for the Court is not simply

whether the Defendants own PI, but instead is much broader - do the Defendants directly or

indirectly control the business of PI

                           IV.     MISCHARACTERIZING THE EVIDENCE

          Defendants' Opposition not only makes bold denials unsupported by any evidence, but

also ignores mountains of evidence that PI was created and existed before the receivership and is

part of the Receivership Estate under the SRO; that the PI business was continued after the

receivership in violation of the SRO; and that Defendants violated the SRO in paiiicipating with

and controlling PI' s business.




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A.      Portfolio Insider was created prior to the receivership.


        Significantly, the uncontroverted evidence shows that PI was created, owned and

operated by Defendants before the receivership:

        1. Defendants changed the name of Retirement Insider (an entity in receivership) to
           Portfolio Insider in July, 2020 before the receivership; 3

        2. Defendants hired a consultant to provide marketing expertise for the Portfolio Insider
           product before the receivership 4,·

        3. Defendants purchased the domain name for Portfolio Insider before the receivership 5,·

        4. Defendant Asher used a Po1ifolio Insider email address before the receivership 6 ;

        5. Defendants developed content for the Pmifolio Insider website before the
           receivership 7;

        6. Defendants created the pitches and marketing campaign for Portfolio Insider before
           the receivership 8 ;

        7. Defendant Asher boasted on August 21, 2020, that Portfolio Insider had generated
           $2,160,000 in annual revenue in the last 60 days (which would have been several
           months before the receivership) 9 ; and

        8. Defendants secured a data feed of securities sales from Intrinio before the
           receivership that was used by Pmifolio Insider 10 .


3
   App. at p.108; see also CFTC Memorandum of Law in Support and Appendix [Dkt. 313]
("CFTC et al.") at Ex. A if35, p. 11-12. The Defendants try to convince the Court to ignore the
declaration of Jennifer Hacker. Jennifer Hacker was the Marketing Director for Retirement
Insider and explained in detail the reason the name of Retirement Insider was changed to
Portfolio Insider. She has not received any monies from the Receivership and there is no
evidence to suggest her declaration is false or that she lacks credibility
4
   See Appendix in Support of Receiver's Motion for Contempt [Dkt. 312] ("App") at pp. 162,
260-265.
5
   App. at pp. 164, 321-342. The Defendants try to minimize the evidence of the purchase of the
domain name as a ministerial act that involved only a few hundred dollars. If that was the case,
then why was the domain name still used in the months and year following the receivership?
6
  App. at pp. 267, 271, 274, 276.
7
  App. at pp. 164-165, 324-342.
8
  App. at pp. 278-294; 321-323.
9
  App. at pp. 266-269.
10
   App. at pp. 161, 209-253.



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         PI was started, owned and operated by the Defendants prior to the receivership.

Accordingly, pursuant to the SRO, the business of PI and its intellectual property are "assets"

that are part of the Receivership Estate as defined by the SRO.

B.       The "Portfolio Insider" after the receivership has been misappropriating the
         Portfolio Insider business that is subject to the SRO

         Because the business and intellectual property of PI were assets subject to the SRO at the

time the SRO was entered, the Defendants were enjoined from continuing, disposing of,

transferring, or using such assets after the receivership. Indeed, the business was required to be

turned over to the Receiver pursuant to the SRO. But, rather than comply with the SRO, the

Defendants seamlessly continued the business of PI with the assistance of their associate Carlos

Cruz, whose entity MagicStar Arrow received of more than $20 million of investor victim funds

prior to the receivership. 11 As noted in the Motion, since Defendants were enjoined from using

assets subject to the SRO and prohibited from engaging in activities related to securities, Mr.

Cruz set up a limited liability company using the name of "Portfolio Insider, LLC". This enabled

Mr. Cruz to be identified to the public as the "owner" of the entity so the Defendants could argue

as they are now, that they are not running afoul of the Comi's Orders. But, a piece of paper

forming an LLC, does not erase the origins and misappropriation of the PI business and its

intellectual property. 12

         The uncontroverted evidence before the Comi shows that after the receivership and in

violation of the SRO, Portfolio Insider misappropriated the PI business and intellectual prope1iy.



11
  App. at p. 165.
12
   See Ledford v. Keen, 9 F.4th 335 (5th Cir. 2021) stating that Texas law permits courts to
"disregard the corporate fiction ... when the corporate form has been used as paii of a basically
unfair device to achieve an inequitable result", citing citing SSP Partners v. Gladstrong Invs.
(USA) Corp., 275 S.W.3d 444, 454 (Tex. 2008).



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         1. Portfolio Insider, after the receivership, used the intellectual property of PI
            developed prior to the receivership, including the business model of selling financial
            information through a digital platform to assist investors. 13 ;

         2. Portfolio Insider, after the receivership, used the same marketing taglines for the
            business developed prior to the receivership 14 ;

         3. Portfolio Insider, after the receivership, continued to use data feed from contracts
            with Intrinio entered into prior to the receivership 15 ;

         4. P01ifolio Insider, after the receivership, continued to use the domain name acquired
            prior to the receivership 16 ;

         5. Portfolio Insider, after the receivership, continued to use the same website content
            developed prior to the receivership 17 ; and

         6. Po1ifolio Insider, after the receivership, employed the same persons who worked for
            the Defendants prior to the receivership. 18

        The idea that the Portfolio Insider business after the receivership is wholly independent

of the PI business started before the receivership is a fiction that defies the evidence. Defendants

have been violating the SRO by using and misappropriating the PI business that existed prior to

the receivership and is subject to the SRO.

C.      The Defendants Controlled Portfolio Insider

         Defendants' Opposition also mischaracterizes their role as simply dealing with the

operational tasks of P01ifolio Insider. This argument flies in the face of the substantial evidence

of Defendants controlling Portfolio Insider's business after the receivership, as follows:

         1. Defendant Lucas Asher hired employees of P01ifolio Insider 19 ;

         2. Defendant Simon Batashvili supervised employees of Portfolio Insider20 ;


13
   App. at pp. 111, 321-323.
14
   App. at pp. 321-323.
15
   App. at pp. 161, 209-253.
16
   App. at pp. 164, 321-342.
17
   App. at pp. 164-165, 324-382.
18
   App. at pp. 111, 163-164.
19
   App. at p 110.



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             3. Defendant Simon Batashvili created the scripts used by callers hired by Portfolio
                Insider to solicit customers21 ;

             4. Defendant Lucas Asher continuously communicated and negotiated with NASDAQ
                on behalf of Po1ifolio Insider and with the authority to bind Portfolio Insider2 2;

             5. Defendant Lucas Asher executed contracts with Intrinio on behalf of Portfolio
                Insider and with the authority to bind Portfolio Insider2 3 ;

             6. Defendant Lucas Asher held himself out to vendors as the person in control of
                Portfolio Insider. 24

It is this "control", direct or indirect, of the Pmifolio Insider business after the receivership that

makes it part of the Receivership Estate under the SRO, and that forms the basis for the

Receiver's request in his Motion for the Court to expressly name it as part of the Receivership

Estate. 25

               V. MISCHARACTERIZING THE RELIEF SOUGHT BY THE RECEIVER

     Defendants spend roughly half of their argument on the unsubstantiated proposition that the

contempt proceeding is a criminal proceeding. Opposition at pages 13-16. The Court need only

look at the coercive relief requested by Receiver to see that the proceeding is civil. Contrary to

the Defendants' assertions, Defendants "carry the keys" to purge their contempt, and a show

cause hearing provides the appropriate due process.

        Defendants admit that civil contempt based on continued defiance "justifies holding civil

contempt proceedings absent the safeguards' of criminal due process." See Opposition at p. 14

(citing, inter alia, Topletz v. Skinner, 7 F.4th 284, 295-96 (5th Cir. 2021). They fmiher admit


20
   App. at pp. 110-112.
21 Id.
22
   App. at pp. 114-157.
23
   App. at pp. 230-253.
24
   App. at pp. 110-112; CFTC App. at Ex. A, if44, pp. 13-14.
25
   See SRO definition of Receivership Defendants as "Defendants and Relief Defendant and their
affiliates or subsidiaries owned or controlled by Defendants or Relief Defendants". if30
(emphasis added).



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that whether a contempt proceeding is criminal or civil "depends upon the ability of the

contemnor to comply with the court's order." See Opposition at p. 14 (citations omitted). The

"oft-repeated aphorism" that "civil contemnors must 'carry the keys of their prison in their own

pockets"' is not in dispute. See Opposition, at p. 14 (citing, inter alia, Topletz, 7 F.4th at 296).

However, Defendant's claim that they "simply cannot comply," is not true.

        Defendants can comply. To purge the contempt, Defendants can take the actions

described at pages 24 and 25 of the Motion. They have control of Pmifolio Insider and its

"assets" and "records," as defined in the SRO. Even if a third party currently possesses some or

all of the "assets" and "records" requested, civil contempt properly prevents Defendants from

evading discove1y simply by storing records with a third party. See Topletz, at 297.

        Inability to comply does not make a contempt proceeding criminal. See, e.g., MD. bnf

Stukenberg v. Abbot, 509 F. Supp. 3d 683, 704 (S.D. Tex. 2020) (naming inability to comply as a

defense and imposing civil contempt despite defenses to some of the allegations). Defendants

have the burden of establishing they cannot comply as a defense to civil contempt. FD.IC. v.

LeGrand, 43 F.3d 163, 170 (5th Cir. 1995) (affirming civil contempt aspects of order and

vacating po1iions of criminal provisions). Thus, because Defendants "carry the keys" to any

escape from any civilly imposed incarceration, the relief requested by the Receiver is wholly

appropriate, and civil in nature.

       "Due process requires 'that one charged with contempt of comi be advised of the charges

against him, have a reasonable opp01iunity to meet them by way of defense or explanation, have

the right to be represented by counsel, and have a chance to testify and call other witnesses.'"

MD. bnf Stukenberg, 509 F. Supp. 3d at, 704 (citation omitted). "Adequate notice typically takes

the form of a show-cause order and a notice of hearing .. ."MD. bnfStukenberg, at 704-05. All




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of these due process protections exist for these Defendants, and the due process cases cited by

Defendants are not applicable. Moreover, this case does not fall within the discrete catego1y of

cases where civil protections "may" be insufficient. See Bagwell Am. Airlines, Inc. v. Allied

Pilots Ass 'n, 228 F.3d 574, 585-86 and n. 20 (5 111 Cir. 2000)(holding show cause hearing was the

appropriate due process in a factually complex case),· see also MD. bnf Stukenberg, at 703 (show

cause hearing satisfied due process in factually complex case).


                                             Respectfully submitted,
                                             SCHEEF & STONE, L.L.P.

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                                CERTIFICATE OF SERVICE
        The undersigned hereby certifies that on October 21, 2021 , I electronically filed the
foregoing document with the clerk of the U.S. District Court, Eastern District of Texas, using the
electronic case filing system of the court. The electronic case filing system sent a "Notice of
Electronic Filing" to the attorneys of record.

                                                    Isl Peter Lewis
                                                    PETER LEWIS




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